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                        UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


 IN RE NATIONAL PRESCRIPTION                     MDL No. 2804
 OPIATE LITIGATION
                                                 Case No. 17-md-2804
 This document relates to:
                                                 Judge Dan Aaron Polster
 All actions



 [PROPOSED] ORDER GRANTING PEC AND TLC MOTION TO CONFIRM FEE PANEL
     DETERMINATION OF COMMON BENEFIT AWARDS FOR TRIBAL WORK
 CONCURRENTLY AND IN CONJUNCTION WITH OTHER COMMON BENEFIT WORK

       Having reviewed the motion and papers, and good cause appearing therefore, the Court

finds as follows:

   1. Special Master Cohen oversees seven global Tribal Settlement Agreements with nine

       separate defendants. Special Master Cohen has held back from the settlement funds of each

       such global Tribal Settlement Agreement a 7.5% common benefit assessment, in order to

       fulfill the Court’s Ongoing Common Benefit Order (docket no. 4428).

   2. The Fee Panel is in the process of determining Common Benefit Fee Awards from the

       common benefit funds created pursuant to seven global Subdivision Settlement

       Agreements with the same nine defendants. These Common Benefit Funds are held in the

       First Opiate Settling Defendants Fee Trust Fund. Tribal counsel were permitted to apply

       for Awards from those Funds for all work done in pursuit of the seven global Tribal

       Settlement Agreements and/or the seven global Subdivision Settlement Agreements.

   3. It is necessary and appropriate for the Fee Panel to allocate the 7.5% common benefit

       assessments held back from the seven global Tribal Settlement Agreements in conjunction
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      with the Fee Panel’s allocation of the common benefit funds created pursuant to the seven

      global Subdivision Settlement Agreements.

   4. Accordingly, Special Master Cohen shall direct the 7.5% common benefit assessments

      from the seven global Tribal Settlement Agreements directly to the First Opiate Settling

      Defendants Fee Trust Fund, instead of the Court’s Common Benefit Fund. The Fee Panel

      shall then allocate and distribute the Tribal common benefit contributions to the First

      Opiate Settling Defendants Fee Trust Fund at the same time as it allocates and distributes

      the Subdivision common benefit contributions to the First Opiate Settling Defendants Fee

      Trust Fund; and the Fee Panel shall pay the common benefit law firms that performed work

      that benefited the Tribal Nations at the same time and, in conjunction with, all other

      common benefit attorneys. This shall fulfill the obligation of Tribal counsel to make

      common benefit payments, and fulfill their right to receive common benefit awards,

      associated with the seven global Tribal Settlement Agreements. All prior application

      deadlines continue to apply to all counsel.

      IT IS SO ORDERED.



Dated: January _____, 2024
                                               District Judge Dan Aaron Polster




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